UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------x
LOANS ON FINE ART LLC,

                          Plaintiff,
                                                                MEMORANDUM AND ORDER
                 v.                                               2:23-CV-07288 (OEM)(JMW)

IAN S. PECK and STUBBS HOLDINGS, LLC,

                           Defendants.
---------------------------------------------------------x
ORELIA E. MERCHANT, United States District Judge:

        Plaintiff Loans on Fine Art LLC (“Plaintiff” or “LoFA”) filed suit on July 23, 2023, in the

Supreme Court of the State of New York, County of Suffolk, against defendant Ian S. Peck

(“Peck”) and defendant Stubbs Holdings LLC (“Stubbs”; together with Peck, “Defendants”),

alleging four counts of fraudulent conveyance and seeking declaratory relief. Amended Verified

Complaint (“Compl.”), annexed to Notice of Removal, ECF 1.                 On September 29, 2023,

Defendants filed a Notice of Removal and removed the action to this Court on the basis of diversity

jurisdiction. Notice of Removal (“Original Notice”), ECF 1. On October 4, 2023, Defendants

amended their Notice of Removal to assert federal question jurisdiction as well. Amended Notice

of Removal (“Amended Notice”), ECF 6. On December 14, 2023, Plaintiff moved to remand the

action, asserting a lack of subject matter jurisdiction over the action, and further seeking attorney’s

fees and expenses pursuant to 28 U.S.C. § 1447(c) as well as Rule 11 sanctions. Motion to Remand

(“Mot.”), ECF 19. For the following reasons, Plaintiff’s Motion to Remand is GRANTED in part

and DENIED in part.




                                                         1
                                                BACKGROUND

         The circumstances underlying this action concern an art-financing dispute between LoFA,

Peck, and Peck-affiliated entities. Mot. at 1. As of April 5, 2023, a $7-million arbitral award

related to the dispute was awarded by a Judicial Arbitration and Mediations Services (“JAMS”)

arbitrator against Peck and his companies—pending confirmation in the U.S. District Court for the

Southern District of New York. Mot. at 1; see Loans on Fine Art LLC v. Ian S. Peck, et al., 23-

CV-4143 (JHR) (S.D.N.Y. May 18, 2023). However, in Plaintiff’s action currently before this

Court, Plaintiff seeks various forms of relief for alleged fraudulent conveyances under New York

law. Mot. at 1. Plaintiff alleges that Defendant Stubbs is Defendant’s Peck’s alter ego—thus

asserting that real property was fraudulently transferred from Peck to Stubbs. See generally

Compl. However, the question before this Court is not with regard to the merits of Plaintiff’s case,

but whether the proper forum for this matter is state or federal court.

    1. Procedural History

         On July 23, 2023, Plaintiff filed its Amended Verified Complaint in New York state court

and on August 24, 2023, served it on Defendant Stubbs through the New York Secretary of State.

Mot. at 2–3. On September 29, 2023, prior to Defendant Peck being served, Defendants filed a

Notice of Removal. See Original Notice. Defendant Peck was eventually personally served at his

Bridgehampton, New York, house on October 3, 2023.1 Affidavit at 1. Defendants subsequently

filed an Amended Notice of Removal on October 4, 2023, adding 28 U.S.C. § 1331 as a ground


1
  Defendant Peck was personally served in New York on October 3, 2023, pursuant to CPLR § 308(1) and thus service
was effected on that date. See Affidavit/Affirmation of Personal Service upon Ian Peck (“Affidavit”), ECF 18. That
Defendant Peck was also sent a mailing, consistent with the alternative service procedure set out in CPLR § 308(2),
does not alter the fact that the summons was delivered to him personally (rather than some other “person of suitable
age and discretion at [his] actual place of business, dwelling place or usual place of abode”) and does not somehow
transform his personal service under CPLR § 308(1) into alternative service under CPLR § 308(2) (which would have
required, as Defendants argue, that “proof of such service shall be filed with the clerk of the court designated in the
summons within twenty days of either such delivery or mailing, whichever is effected later; service shall be complete
ten days after such filing”).

                                                          2
for removal jurisdiction. Amended Notice at 1. On December 14, 2023, Plaintiff’s served its

Motion to Remand, see Mot.; Defendants filed their opposition, see Defendants Memorandum in

Opposition to Motion to Remand and for Sanctions, (“Opp.”), ECF 21; and Plaintiff filed a reply,

see Plaintiff’s Reply (“Reply”), ECF 20.

                                           DISCUSSION

   A. Legal Standard

        Federal courts are “courts of limited jurisdiction” and cannot preside over cases absent

subject matter jurisdiction. See Exxon Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 552

(2005); Frontera Res. Azer. Corp. v. State Oil Co. of Azer. Republic, 582 F.3d 393, 397 (2d Cir.

2009); see also United States v. Assa Co., 934 F.3d 185, 188 (2d Cir. 2019). “Congress has granted

district courts original jurisdiction over cases in which there is a federal question, see 28 U.S.C. §

1331, and certain cases between citizens of different states, so long as the requirements of complete

diversity and amount in controversy are met, see 28 U.S.C. § 1332.” Purdue Pharma L.P. v.

Kentucky, 704 F.3d 208, 213 (2d Cir. 2013) (emphasis in original).

       A defendant in a civil state court action may remove its case to federal court, subject to

certain requirements, if the case could have originally been brought in federal court. 28 U.S.C. §

1441(a) (“any civil action brought in a State court of which the district courts of the United States

have original jurisdiction” may (generally) be removed to federal court). To be eligible for

removal, a case must satisfy the requirements of federal question jurisdiction or diversity

jurisdiction. See id. §§ 1331, 1332(a). If the complaint satisfies neither, the federal court lacks

subject-matter jurisdiction to hear the case and it must be remanded to state court.

       As explained below, this Court lacks both federal question and diversity jurisdiction over

this case and so it must be dismissed. See Do No Harm v. Pfizer Inc., 96 F.4th 106, 121 (2d Cir.



                                                  3
2024) (If the Court “determines it lacks subject matter jurisdiction,” it must “dismiss the complaint

in its entirety.”).

    B. Removal Based on Diversity Jurisdiction

        If the only basis for federal subject-matter jurisdiction is diversity of citizenship under 28

U.S.C. § 1332, “the forum defendant rule applies.” Encompass Ins. Co. v. Stone Mansion Rest.

Inc., 902 F.3d 147, 152 (3d Cir. 2018). Pursuant to 28 U.S.C. § 1441(b)(2), “[a] civil action

otherwise removable solely on the basis of the jurisdiction under section 1332(a) of this title may

not be removed if any of the parties in interest properly joined and served as defendants is a citizen

of the State in which such action is brought.” Id. § 1441(b)(2).

        In the typical case, “application of the forum defendant rule is straightforward: a defendant

is sued in a diversity action in the state courts of its home state, is served in accordance with state

law, attempts to remove the case, and is rebuffed by a district court applying Section 1441(b)(2).”

Gibbons v. Bristol-Myers Squibb Co., 919 F.3d 699, 705 (2d Cir. 2019); see, e.g., Wilmington Tr.,

N.A. v. Pearson, 18-CV-4845 (PAC), 2018 WL 3918182, at *1 (S.D.N.Y. Aug. 16, 2018).

Therefore, the first question before this Court is whether the forum defendant rule bars Defendants

from removing this case to federal court on the basis of diversity jurisdiction.

        Here, it is undisputed that the basic jurisdictional requirements of § 1332(a) are satisfied

as: Plaintiff is a citizen of Colorado; Defendants are both citizens of New York; and the amount in

controversy exceeds $75,000. See Original Notice ¶¶ 1–3, Mot. at 5. However, this action has

been brought in New York, implicating the forum defendant rule. See Encompass Ins. Co., 902

F.3d at 152. Though the parties’ respective accounts of the facts required careful parsing to

reconstruct, it is apparent that Stubbs, a forum Defendant, was “properly joined and served” before

Defendants filed their notice of removal—barring any Defendant from removing the action



                                                  4
thereafter. See also Gibbons, 919 F.3d at 705 (“The statute plainly provides that an action may

not be removed to federal court on the basis of diversity of citizenship once a home-state defendant

has been “properly joined and served.” 28 U.S.C. § 1441(b)(2) (emphasis added).”).

         Defendant Stubbs was served in accordance with state law on August 24, 2023, through

the New York Secretary of State pursuant to LLCL § 303(a).2 Opp. at 3. Defendants’ Notice of

Removal, however, was not filed until September 29, 2023—after Stubbs, a forum defendant, had

already been served. Original Notice ¶ 4. This is fatal for Defendants’ contention here, since §

1441(b)(2) instructs that an action removable on diversity jurisdiction grounds alone “may not be

removed if any of the parties in interest properly joined and served as defendants” is a forum

defendant. Id. (emphasis added). The fact that Defendant Peck had not yet been served when

Defendants filed their Notice of Removal does not somehow preserve his right to remove on this

basis.3 Such a “snap removal” 4 by a forum defendant, while allowed in this Circuit, must occur

before any forum defendant has been served. See Gibbons, 919 F.3d at 706-07. Therefore,

removal based on diversity jurisdiction is unavailable here.

    C. Federal Question Jurisdiction

         Since Defendants may not remove this case to federal court on diversity jurisdiction

grounds, to remain in federal court, they must demonstrate that it “aris[es] under the Constitution,




2
  As Defendants observe, Defendant Stubbs’ 30-day removal clock did not start to run until it received the mailing
from the Secretary of State on August 31, 2023—but this has no bearing here. Opp. at 5; see Sara v. Talcott Resol.
Life Ins. Co., 21-CV-3094 (CS), 2022 WL 19182, at *2 (S.D.N.Y. Jan. 3, 2022) (collecting cases).
3
  Furthermore, Plaintiff notes that Defendants operative amended notice of removal was filed a day after Defendant
Peck had be served—including a new allegation of the existence of federal question jurisdiction. Reply at 2.
4
  “In several recent decisions, courts have construed the phrase ‘properly joined and served’ to allow removal by
forum-state defendants prior to service. These decisions interpret the negative statement that a case may not be
removed if one of the defendants who is ‘properly joined and served’ is a citizen of the forum state to imply the
positive correlative: removal is permitted despite the presence of forum defendants if these are not yet ‘properly joined
and served.’ This exception to the general rule that removal is available only to out-of-state defendants has come to
be known as ‘snap removal.’” See Galiano Constr. Custom Builder, LLC v. Sample, 5:20-CV-106, 2020 U.S. Dist.
LEXIS 247648, at *6 (D. Vt. Oct. 22, 2020) (internal citations omitted).

                                                           5
laws, or treaties of the United States” so as to satisfy federal question jurisdiction under 28 U.S.C.

§ 1331. See Montefiore Med. Ctr. v. Teamsters Local 272, 642 F.3d 321, 327 (2d Cir. 2011) (“A

party seeking removal bears the burden of showing that federal jurisdiction is proper.”).

       To bring a case within the [removal] statute, a right or immunity created by the
       Constitution or laws of the United States must be an element, and an essential one,
       of the plaintiff’s cause of action. The right or immunity must be such that it will
       be supported if the Constitution or laws of the United States are given one
       construction or effect, and defeated if they receive another. A genuine and present
       controversy, not merely a possible or conjectural one, must exist with reference
       thereto, and the controversy must be disclosed upon the face of the complaint,
       unaided by the answer or by the petition for removal. Indeed, the complaint itself
       will not avail as a basis of jurisdiction in so far as it goes beyond a statement of the
       plaintiff’s cause of action and anticipates or replies to a probable defense.

Gully v. First Nat’l Bank, 299 U.S. 109, 112–13 (1936) (internal citations omitted).

       Defendants argue that federal question jurisdiction exists here because arbitration is a field

in which the Federal Arbitration Act (“FAA”) preempts all contrary state law and renders all claims

brought within it “necessarily aris[ing] under federal law, a complaint purporting to raise state law

claims in that field actually raises federal claims.” Opp. at 7 (quoting Marcus v. AT&T Corp., 138

F.3d 46, 53 (2d Cir. 1998)).

       However, the Second Circuit has made clear:

       Ordinarily, preemption is a defense to be asserted in state court and not a ground
       for removal, except in a limited number of cases in which “complete preemption”
       applies. “Under the complete-preemption doctrine, certain federal statutes are
       construed to have such ‘extraordinary’ preemptive force that state-law claims
       coming within the scope of the federal statute are transformed, for jurisdictional
       purposes, into federal claims—i.e., completely preempted.”

Holmes v. Experian Info. Solutions, Inc., 507 F. App’x 33, 34 (2d Cir. 2013) (summary order)

(quoting Sullivan v. Am. Airlines, Inc., 424 F.3d 267, 272–73 (2d Cir. 2005)).




                                                  6
“The Supreme Court has only found three statutes to have the requisite extraordinary preemptive

force to support complete preemption” and none of them are the FAA.5 Sullivan, 424 F.3d at 272

(internal citations omitted). Defendants cite no authority supporting the proposition that complete

preemption similarly applies to the FAA, nor has this Court identified case law that supports

Defendants baseless contention.6

         Contrary to what Defendants suggest, Viking River Cruises, Inc. v. Moriana, 596 U.S. 639

(2022), holds merely that, like other federal statutes, the FAA preempts state laws to the extent

they conflict with it—not that the FAA occupies the entire field of arbitration so as to displace all

state law on the subject. Viking, 596 U.S. at 650–52. Indeed, as Plaintiff notes, the Supreme Court

has made clear that “[t]he FAA contains no express preemptive provision, nor does it reflect a

congressional intent to occupy the entire field of arbitration.” Reply at 6 (quoting Volt Info. Scis.,

Inc. v. Bd. of Trustees of Leland Stanford Junior Univ., 489 U.S. 468, 477 (1989)) (internal

quotation marks omitted). And, as discussed, supra at 5, even field preemption would not provide

a jurisdictional ground for removal; only complete preemption will suffice:

         The complete-preemption doctrine must be distinguished from ordinary
         preemption, also known as defensive preemption . . . Many federal statutes—far
         more than support complete preemption—will support a defendant’s argument that
         because federal law preempts state law, the defendant cannot be held liable under
         state law. Ordinary defensive preemption comes in three familiar forms: express
         preemption, conflict preemption, and field preemption. The Supreme Court has left
         no doubt, however, that a plaintiff’s suit does not arise under federal law simply
         because the defendant may raise the defense of ordinary preemption.




5
  These statutes are: § 301 of the Labor–Management Relations Act (LMRA), § 502(a) of the Employee Retirement
Income Security Act (ERISA), and §§ 85 and 86 of the National Bank Act. Sullivan, 424 F.3d at 272.
6
  In addition, “[a]s for jurisdiction over controversies touching arbitration, the [FAA] does nothing, being something
of an anomaly in the field of federal-court jurisdiction in bestowing no federal jurisdiction but rather requiring an
independent jurisdictional basis.” Tully Constr. Co. v. Canam Steel Corp., 2015 U.S. Dist. LEXIS 25690, at *11 n.4
(S.D.N.Y. Mar. 2, 2015).

                                                          7
Sullivan, 424 F.3d at 272–73 (internal citations omitted). Because complete preemption does not

apply to the FAA, the Court lacks federal question jurisdiction over this case. Because there is

neither diversity nor federal question jurisdiction, the Court must remand the case to state court.

    D. Sanctions and Removal Expenses

        Plaintiff also requests Rule 11 sanctions be imposed on Defendants and seek to recover

attorney’s fees and expenses associated with the improper removal. Mot. at 6.

        Under Fed. R. Civ. P. 11(b), whenever a signed pleading or “other paper” is submitted to

the court, an attorney certifies:

        (1) [the paper] is not being presented for any improper purpose, such as to harass
        or to cause unnecessary delay or needless increase in the cost of litigation;
        (2) the claims, defenses, and other legal contentions therein are warranted by
        existing law or by a nonfrivolous argument for the extension, modification, or
        reversal of existing law or the establishment of new law;
        (3) the allegations and other factual contentions have evidentiary support or, if
        specifically so identified, are likely to have evidentiary support after a reasonable
        opportunity for further investigation or discovery; and
        (4) the denials of factual contentions are warranted on the evidence or, if
        specifically so identified, are reasonably based on a lack of information or belief.
        “The standard for triggering the award of fees under Rule 11 is objective
        unreasonableness,” Margo v. Weiss, 213 F.3d 55, 65 (2d Cir. 2000), and is not based
        on the subjective beliefs of the person making the statement.

Storey v. Cello Holdings, L.L.C., 347 F.3d 370, 387 (2d Cir. 2003). Rule 11 sanctions can be

imposed upon a motion for sanctions, Fed. R. Civ. P. 11(c)(2), or sua sponte, 11(c)(3). In all cases,

there must be “notice and a reasonable opportunity to respond,” 11(c)(1), and a motion for

sanctions must adhere to the procedural requirements of Rule 11(c)(2). Under 28 U.S.C. § 1447(c),

“[a]n order remanding the case may require payment of just costs and any actual expenses,

including attorney fees, incurred as a result of the removal.”




                                                 8
   1. Rule 11 Sanctions

       There is no procedurally valid motion for sanctions currently before the Court.

       A motion for sanctions must be made separately from any other motion and must
       describe the specific conduct that allegedly violates Rule 11(b). The motion must
       be served under Rule 5, but it must not be filed or be presented to the court if the
       challenged paper, claim, defense, contention, or denial is withdrawn or
       appropriately corrected within 21 days after service or within another time the court
       sets.

Fed. R. Civ. P 11(c)(2). Here, as Defendants point out, Plaintiff’s actual Motion to Remand makes

no mention of sanctions, requesting them only in its supporting Memorandum of Law. See Mot.

at 6. This plainly fails to satisfy Rule 11(c)(2)’s prescription. And despite indicating that “LoFA

will file its motion for Rule 11 sanctions shortly after filing this Reply,” Reply at 7, no such motion

has been filed.

       Thus, sanctions are presently available only on the Court’s own initiative and at its

discretion. See Fed. R. Civ. P. 11(c)(3) (“On its own, the court may order an attorney, law firm,

or party to show cause why conduct specifically described in the order has not violated Rule

11(b)”); Perez v. Posse Comitatus, 373 F.3d 321, 325–26 (2d Cir. 2004) (“Even if the district court

concludes that the assertion of a given claim violates Rule 11, however, the decision whether or

not to impose sanctions is a matter for the court’s discretion.”).

       The Court declines to impose Rule 11 sanctions sua sponte here. Although the Court is

wary to conclude that “to the best of [Defendants’ counsel’s] knowledge, information, and belief,

formed after an inquiry reasonable under the circumstances,” his arguments attempting to establish

removal jurisdiction were warranted by existing law or by a nonfrivolous argument for extending,

modifying, or reversing existing law or for establishing new law, see Fed. R. Civ. P. 11(b), the

Second Circuit has made clear that “Rule 11 sanctions should be imposed with caution.” Knipe v.

Skinner, 19 F.3d 72, 78 (2d Cir. 1994). District courts in this Circuit have likewise held that Rule

                                                  9
11 sanctions are an “extreme measure” and that simply “finding later that a claim lacked

evidentiary support is not a sufficient basis on which to impose sanctions.” Baram v. Doe, 23-

CV-01758 (ER), 2024 U.S. Dist. LEXIS 10897, at *14-15 (S.D.N.Y. Jan. 22, 2024) (internal

quotation marks omitted) (collecting cases).

        In light of the weight of the relevant authority and bearing in mind the need “not to stifle

legal creativity and zealous advocacy,” City of Perry, Iowa v. Procter & Gamble Co., 15-CV-8051

(JMF), 2017 WL 2656250, at *2 (S.D.N.Y. June 20, 2017), the Court declines to exercise its

discretion here to sanction Defendants for their deficient removal submissions.            See Ipcon

Collections LLC v. Costco Wholesale Corp., 698 F.3d 58, 63 (2d Cir. 2012) (“Sanctions may be—

but need not be—imposed when court filings are used for an ‘improper purpose,’ or when claims

are not supported by existing law, lack evidentiary support, or are otherwise frivolous”); Perez,

373 F.3d at 325; Storey v. Cello Holdings, L.L.C., 347 F.3d 370, 391 (2d Cir. 2003).

        As to Plaintiff’s request for costs and attorney’s fees under 28 U.S.C. § 1447(c), Plaintiff’s

current submissions before the Court lack any information as to the amount of such costs and

expenses. Therefore, the Court denies this portion of Plaintiff’s motion without prejudice to allow

the parties to properly brief this issue.

                                            CONCLUSION
        For the reasons stated above, Plaintiff’s motion is GRANTED in part—this action is

REMANDED to the Supreme Court of the State of New York, County of Suffolk. The Clerk of

Court is respectfully directed to remand the action to the Supreme Court of the State of New York,

Suffolk County and to send a certified copy of this Order to the Clerk of that court, and to close

this case.

        Plaintiff’s request for Rule 11 Sanctions is DENIED. However, to the extent that Plaintiff

seeks removal costs and attorneys’ fees, such part of Plaintiff’s motion is DENIED without

                                                 10
prejudice, with leave to renew. This Court will retain jurisdiction solely over the collateral matters

of awarding attorneys’ fees and costs under 28 U.S.C. § 1447(c). See also MRS Prop. Invs., Inc.

v. Bivona, 21-CV-1104(EK)(AYS), 2021 U.S. Dist. LEXIS 84402, at *9 (E.D.N.Y. May 3, 2021)

(citing Bryant v. Britt, 420 F.3d 161, 164-65 (2d Cir. 2005) (district courts have jurisdiction over

motion for fees and costs under Section 1447(c) even “after a remand order has issued.”)).

       Plaintiff’s counsel is given thirty (30) days from the date of this order, October 3, 2024, to

renew any motion for costs and attorney’s fees—the renewed motion should include itemized

request for fees and costs, along with any further statement regarding the appropriateness of such

an award. Defendant shall show cause by November 4, 2024, why fees and costs should not issue.

Any such motion is hereafter respectfully referred to the assigned Magistrate Judge for a report

and recommendation.



 SO ORDERED.

                                                                      /s/
                                                             ORELIA E. MERCHANT
Dated: September 3, 2024                                     United States District Judge
       Brooklyn, New York




                                                 11
